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February 22, 2019

Hon. J.P. Stadtmueller
United States District Court
517 East Wisconsin Avenue
Milwaukee, Wisconsin 53202

RE:      United States v. Marcus Hutchins, Case No. 17-CR-124

Your Honor:

I write on behalf of all parties regarding the scheduling of trial in Mr. Hutchins’ case.

From the defense’s perspective, this case—one designated as complex—might be ready
for trial as soon as April. From there and upon the government’s estimation of a four to
five-day trial, the question becomes one of all counsel’s availability. On that question, Mr.
Hutchins’ attorneys have various scheduling conflicts in April but can be available
starting in May. Mr. Hutchins’ attorneys and those for the government have consulted
and our respective schedules have us all available for a trial commencing on any of the
following dates: May 20, July 8, July 15, and July 22. Subject, of course, to the Court’s
availability, the parties therefore propose any of those dates as viable trial dates.

To the extent the Court might wish to convene a scheduling conference, both parties are
happy to proceed in that fashion.

In connection with what is proposed here, defense counsel have spoken with Mr.
Hutchins regarding his rights under 18 U.S.C. § 3161, et. seq. He has authorized what is
proposed here, and consents to the Court making findings that the time between now
and any of the proposed trial dates can be excluded under § 3161(h)(7) for reasons
including ensuring the availability of his chosen defense counsel.

We thank the Court for considering our request.

Respectfully submitted,

/s/ Daniel W. Stiller

DANIEL W. STILLER



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